Case 1:16-cv-03418-TWP-DML Document 45 Filed 11/13/17 Page 1 of 2 PageID #: 832



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 AARON FARRER,                                         )
                                                       )
                               Plaintiff,              )
                                                       )
                          v.                           )       No. 1:16-cv-03418-TWP-DML
                                                       )
 INDIANA UNIVERSITY,                                   )
 JASON CASARES,                                        )
 AMBER MONROE,                                         )
 ADAM J. HERMAN,                                       )
 KATHERYN A. SHIRK,                                    )
 HAROLD GOLDSMITH,                                     )
 VIVIAN HERNANDEZ,                                     )
 MARION ZERFOSS,                                       )
                                                       )
                               Defendants.             )

                                       SCHEDULING ORDER

        Having approved the Case Management Plan as amended, the Court hereby sets the final

 pretrial conference on February 6, 2019 at 10:00 a.m. in Room 330, and the jury trial to begin on

 March 4, 2019 at 9:00 a.m. in Courtroom 344, Birch Bayh Federal Building and United States

 Courthouse, 46 East Ohio Street, Indianapolis, Indiana. The final pretrial conference is for

 attorneys only. At the final pretrial conference, Counsel shall be prepared to discuss the status of

 the action, including all matters requiring completion preparatory to trial.



        Date:    11/13/2017
Case 1:16-cv-03418-TWP-DML Document 45 Filed 11/13/17 Page 2 of 2 PageID #: 833




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